
814 So.2d 1223 (2002)
J.L.W., a juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D01-2617.
District Court of Appeal of Florida, Third District.
May 1, 2002.
*1224 Bennett H. Brummer, Public Defender, and Andrew Stanton, Assistant Public Defender, for appellant.
Robert A. Butterworth, Attorney General, and Steven R. Berger, Assistant Attorney General, for appellee.
Before JORGENSON, COPE, and SHEVIN, JJ.
PER CURIAM.
J.L.W., the respondent below, appeals from an order of adjudication of delinquency and an order placing him on community control. We affirm.
The trial court did not abuse its discretion in limiting the respondent's cross examination of a co-respondent who testified for the state. The respondent sought to show that the witness received favorable treatment from the state because only the respondent, and none of the other four boys who were arrested with him, was charged with burglary. Any error was harmless as a police officer already had testified that respondent was the only one of four boys who was charged with burglary, and the defense argued in closing that the respondent was the only boy charged with burglary.
We find no merit in the respondent's second argument, that the trial court erred in concluding that the trailer he burglarized was a "structure" and not a "conveyance" within the meaning of section 810.011, Florida Statutes (2000). There was "not such variance [between the charge and the proof] here as could have misled respondent or subjected him to reprosecution." Dozier v. State, 662 So.2d 382, 383 (Fla. 4th DCA 1995).
AFFIRMED.
